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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                 :

             v.                          :Crim. No.21-165

BRITTIANY DILLON                         :

             Defendant                   :


                  MOTION TO CONTINUE SENTENCING

      Comes Now, defendant, Brittiany Dillon, by and through counsel who

respectfully requests that this Honorable Court continue the sentencing in this

matter to November 4, 2021 to allow the defendant to supplement her sentencing

memorandum to address more thoroughly the relevant sentencing factors,

including 18 U.S.C. Section 3553(a).

                                         Respectfully submitted.


                                         __________/s/_______________
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